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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                  WICHITA DIVISION

 STATE OF KANSAS, ex rel.
 KRIS W. KOBACH, Attorney General,

        Plaintiff,                                 Case No. 6:24-cv-01128
 v.
 PFIZER INC.,

        Defendant.


              PFIZER INC.’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendant Pfizer Inc. removed this action to federal court, because, among other reasons,

Pfizer is a federal officer entitled to immunity under the Public Readiness and Emergency

Preparedness Act (“PREP Act”), the Complaint raises important questions of federal law, and the

PREP Act completely preempts all claims. The Office of the Attorney General for the State of

Kansas (“OAG”) moved to remand, and Pfizer timely opposed. Pfizer respectfully submits

supplemental authority in support of its Opposition to the State of Kansas’s Motion to Remand

(“Opposition”) (ECF 25).

       As noted in Pfizer’s Opposition, the Texas Attorney General filed a similar complaint

against Pfizer, which was removed to federal court on the same jurisdictional grounds. Texas did

not seek remand, and the U.S. District Court retained jurisdiction. (ECF 25 at 2). Pfizer then moved

to dismiss Texas’s complaint, asserting the same federal defenses under which Pfizer removed this

action. On December 30, 2024, the district court dismissed Texas’s complaint and rendered

judgment for Pfizer, finding that “as a matter of law under the circumstances of this case, the

Defendant is entitled to immunity under the [PREP Act],” and “both the PREP Act and the

Food, Drug, and Cosmetic Act (“FDCA”) preempts Plaintiff’s claims.” See Texas v. Pfizer, Inc.,
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Case No. 5:23-cv-00312 (N.D. Tex.) (Ex. 1) (emphasis added). Although there is not a pending

motion to dismiss in this case, it stands to reason that the same grounds for immunity and

preemption found applicable by the U.S. District Court for the Northern District of Texas are

“colorable” or “plausible” defenses sufficient to confer jurisdiction here. This Order confirms that

Pfizer has, not only colorable, but meritorious federal defenses entitling it to federal officer

removal under 28 U.S.C. § 1442(A)(1). (See ECF 25 at 17-20). It further shows that the OAG’s

claims are so entwined with important questions of federal law that they are preempted by two

federal statutes. (See ECF 25 at 21-28). This case therefore belongs in federal court.

       For these reasons and the reasons stated in its Opposition, Pfizer respectfully requests that

the Court deny Kansas’s Motion to Remand.




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December 30, 2024                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 30, 2024, I caused a true and correct copy of the

foregoing to be filed by the Court’s electronic filing system, to be served by operation of the

Court’s electronic filing system on all counsel for all parties who have entered in the case.


                                             /s/ Dane C. Martin
                                             Dane C. Martin




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